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                                                                                      Did Defendant Move to Dismiss Was Motion to Dismiss
Date Filed         Name                                         Number          Court the Complaint?                Granted?                Name of Judge
          1/7/2020 Darby v. Prairie Farms Dairy, Inc.           1:2020cv00151   nysdc no                            n/a                     Buchwald, USDJ
                   Collishaw v. Cooperative Regions of
         1/12/2020 Organic Producer Pools                       7:2020cv00277   nysdc   no                          n/a                     Halpern, USDJ
         1/18/2020 Pichardo v. Only What You Need, Inc.         1:2020cv00493   nysdc   yes                         yes                     Caproni, USDJ
         1/19/2020 Sanders v. Trader Joe's Company              1:2020cv00496   nysdc   no                          n/a                     Caproni, USDJ
         1/21/2020 Figueroa v. Trader Joe's Company             1:2020cv00322   nyedc   yes                         no                      DeArcy Hall, USDJ
         1/27/2020 Papoulis v. Pacific Foods of Oregon, LLC     1:2020cv00432   nyedc   no                          n/a                     Korman, USDJ
         1/27/2020 Powell v. Dollar Tree Stores, Inc.           1:2020cv00734   nysdc   yes                         no                      Oetken, USDJ
         1/28/2020 Twohig v. Shop‐Rite Supermarkets, Inc.       7:2020cv00763   nysdc   yes                         yes                     Seibel, USDJ
          2/1/2020 Brown v. Walgreen Co.                        7:2020cv00891   nysdc   no                          n/a                     Karas, USDJ
          2/3/2020 Swantek v. Save‐A‐Lot Holdings, Inc.         7:2020cv00894   nysdc   yes                         no                      Seibel, USDJ
          2/7/2020 Hamilton v. Orgain, Inc.                     1:2020cv01084   nysdc   yes                         no                      Caproni, USDJ
         2/10/2020 Civello v. Conopco, Inc.                     1:2020cv01173   nysdc   yes                         yes                     Marrero, USDJ
                   Campbell v. Whole Foods Market Group,
         2/13/2020 Inc.                                         1:2020cv01291   nysdc   yes                         no                      Woods, USDJ
         2/18/2020 Budhani v. Monster Beverage Company          1:2020cv01409   nysdc   yes                         yes                     Liman, USDJ
         2/23/2020 Kyszenia v. The Hain Celestial Group, Inc.   1:2020cv00979   nyedc   yes                         no                      Block, USDJ
         2/26/2020 Hiland v. Whole Foods Market Group,          7:2020cv01680   nysdc   yes                         no                      Halpern, USDJ
                   Angeles v. Tillamook County Creamery
         2/28/2020 Association                                  1:2020cv01764   nysdc   no                          n/a                     Oetken, USDJ
          3/6/2020 Spitzer v. Celestial Seasonings, Inc.        1:2020cv02000   nysdc   yes                         no                      Cote, USDJ
          3/8/2020 Webber v. McDonald's Corporation             7:2020cv02058   nysdc   yes                         no                      Karas, USDJ
         3/10/2020 Ferreri et al v. Chobani, LLC                1:2020cv02161   nysdc   yes                         no                      Koeltl, USDJ
         3/12/2020 Lamonakis v. Blue Diamond Growers            1:2020cv01347   nyedc   yes                         no                      Brodie, USDJ
                   Cohen et al v. Wegmans Food Markets,
         3/16/2020 Inc.                                         1:2020cv01409   nyedc   yes                         no                      Komitee, USDJ
         3/19/2020 Cruz v. D F Stauffer Biscuit Co Inc          1:2020cv02402   nysdc   yes                         yes                     Gardephe, USDJ
         3/24/2020 Gilleo v. The J. M. Smucker Company          7:2020cv02519   nysdc   yes                         yes                     Halpern, USDJ
         3/29/2020 Rodriguez v. 7‐Eleven, Inc.                  1:2020cv02636   nysdc   no                          n/a                     Buchwald, USDJ
          4/5/2020 Buonocore v. Aldi Inc.                       1:2020cv01699   nyedc   no                          n/a                     Cogan, USDJ
          4/6/2020 Ali et al v. All Market, Inc.                7:2020cv02823   nysdc   no                          n/a                     Halpern, USDJ
          4/6/2020 Miller v. Wegmans Food Markets, Inc.         1:2020cv01703   nyedc   yes                         no                      Dearie, USDJ
                   Santiful et al v. Wegmans Food Markets,
          4/9/2020 Inc.                                         7:2020cv02933   nysdc   yes                         yes                     Roman, USDJ
         4/11/2020 Bardsley v. Nonni's Foods LLC                7:2020cv02979   nysdc   yes                         no                      Roman, USDJ
         4/13/2020 Tinelli v. Costco Wholesale Corporation      1:2020cv02983   nysdc   yes                         no                      Daniels, USDJ
         4/15/2020 Biegel v. Blue Diamond Growers               7:2020cv03032   nysdc   yes                         no                      Seibel, USDJ
         4/26/2020 Mangone et al v. Hals Beverage LLC           7:2020cv03267   nysdc   no                          n/a                     Seibel, USDJ
         5/15/2020 Sharma v. Wegmans Food Markets, Inc.         1:2020cv02210   nyedc   yes                         no                      Vitaliano, USDJ
         5/29/2020 Falborn v. Unilever United States, Inc.      7:2020cv04138   nysdc   yes                         no                      Karas, USDJ
          6/1/2020 Miller v. TC Heartland LLC                   1:2020cv04182   nysdc   no                          n/a                     Vyskocil, USDJ
                   Sajnani et al v. The Hain Celestial Group,
          6/4/2020 Inc.                                         1:2020cv04281   nysdc   no                          n/a                     Rakoff, USDJ
          6/7/2020 Cleary v. Wakefern Food Corp.                1:2020cv02537   nyedc   yes                         no                      Matsumoto, USDJ
          6/8/2020 Guzman v. Aldi Inc.                          1:2020cv02550   nyedc   yes                         no                      Dearie, USDJ
         6/12/2020 Mena v. Conagra Brands, Inc.                 1:2020cv04505   nysdc   yes                         no                      Vyskocil, USDJ


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                    Marsella et al v. The Hain Celestial
        6/26/2020   Group, Inc.                                 1:2020cv04936   nysdc   yes                         no                      Abrams, USDJ
         7/1/2020   Gil v. The Coca‐Cola Company                1:2020cv05064   nysdc   yes                         no                      Schofield, USDJ
         7/7/2020   Gaskell et al v. Chobani, LLC               7:2020cv05199   nysdc   yes                         no                      Seibel, USDJ
        7/11/2020   Fisher v. Whole Foods Market Group, Inc.    1:2020cv05339   nysdc   yes                         no                      Woods, USDJ
        7/13/2020   Weintz v. Pacific Foods of Oregon, LLC      1:2020cv05385   nysdc   no                          n/a                     Oetken, USDJ
         8/8/2020   Duffy v. Lidl US, LLC                       1:2020cv03578   nyedc   no                          n/a                     Ross, USDJ
         8/9/2020   James v. Hostess Brands, LLC                1:2020cv06259   nysdc   no                          n/a                     Broderick, USDJ
        8/14/2020   Rosenfeld v. Trader Joe's Company           1:2020cv03717   nyedc   no                          n/a                     Cogan, USDJ
         9/5/2020   Brown v. Kellogg Sales Company              1:2020cv07283   nysdc   yes                         yes                     Carter, Jr, USDJ
        9/11/2020   Parmely et al v. The Golub Corporation      7:2020cv07491   nysdc   yes                         no                      Roman, USDJ
        9/12/2020   Magnuson et al v. The Price Chopper, Inc.   7:2020cv07497   nysdc   yes                         no                      Karas, USDJ
        9/13/2020   Carter v. Nestle USA, Inc.                  7:2020cv07498   nysdc   yes                         no                      Seibel, USDJ
        9/14/2020   Green v. Nestle Holdings, Inc.              1:2020cv07499   nysdc   no                          n/a                     Rakoff, USDJ
        9/21/2020   Ynfante v. Fairlife LLC                     7:2020cv07776   nysdc   yes                         no                      Briccetti, USDJ
        9/26/2020   Figueroa v. Fairlife LLC                    1:2020cv04584   nyedc   yes                         no                      DeArcy Hall, USDJ
        9/26/2020   Lugo v. Celestial Seasonings, Inc.          1:2020cv04580   nyedc   yes                         no                      Komitee, USDJ
        10/9/2020   Jones v. Orgain, LLC                        7:2020cv08463   nysdc   yes                         yes                     Briccetti, USDJ
                    Mitchell v. Whole Foods Market Group,
       10/12/2020   Inc.                                        1:2020cv08496   nysdc   yes                         yes                     Ramos, USDJ
       10/12/2020   Myers v. Wakefern Food Corp.                7:2020cv08470   nysdc   yes                         yes                     Roman, USDJ
       10/17/2020   Wargo v. The Hillshire Brands Company       7:2020cv08672   nysdc   yes                         no                      Roman, USDJ
       10/18/2020   Brienza v. The Coca‐Cola Company            7:2020cv08676   nysdc   no                          n/a                     Seibel, USDJ
                    Turnipseed v. Simply Orange Juice
       10/19/2020   Company                                     7:2020cv08677   nysdc yes                           yes                     Roman, USDJ
                    Warren v. The Stop & Shop Supermarket
       10/19/2020   Company LLC                                 7:2020cv08718   nysdc yes                           no                      Roman, USDJ
       10/25/2020   Bradshaw v. Blue Diamond Growers            1:2020cv05125   nyedc no                            n/a                     Vitaliano, USDJ
                    Collishaw v. Cooperative Regions of
       10/27/2020   Organic Producer Pools                      7:2020cv09009   nysdc   yes                         yes                     Halpern, USDJ
        11/1/2020   Alexander v. Wegmans Food Markets,          7:2020cv09148   nysdc   yes                         no                      Briccetti, USDJ
       11/16/2020   Tropp v. Prairie Farms Dairy, Inc.          3:2020cv01035   wiwdc   yes                         yes                     Peterson, USDJ
       11/17/2020   Kushner v. Monster Energy Company           1:2020cv05606   nyedc   no                          n/a                     Garaufis, USDJ
       11/22/2020   Prescott v. Nestl Holdings, Inc.            1:2020cv05683   nyedc   no                          n/a                     Matsumoto, USDJ
        12/6/2020   Salony v. VMG Partners, LLC                 7:2020cv10273   nysdc   no                          n/a                     Briccetti, USDJ
       12/26/2020   Moncure v. 7‐Eleven, Inc.                   1:2020cv10935   nysdc   yes                         no                      Carter, Jr, USDJ
         1/6/2021   Newton v. Orgain Management, Inc.           1:2021cv00062   nyedc   no                          n/a                     Vitaliano, USDJ
        1/11/2021   Socol v. 7‐Eleven, Inc.                     7:2021cv00194   nysdc   no                          n/a                     Halpern, USDJ
        1/13/2021   Binns v. HP Hood LLC                        7:2021cv00319   nysdc   yes                         no                      Roman, USDJ
        1/17/2021   Werner v. Nestle Healthcare Nutrition,      7:2021cv00408   nysdc   yes                         no                      Seibel, USDJ
         2/7/2021   Cavallero v. G.T Japan, Inc.                7:2021cv01077   nysdc   yes                         no                      Karas, USDJ
         2/8/2021   Suriano v. Nestle USA, Inc.                 1:2021cv00717   ilndc   yes                         no                      Gottschall, USDJ
         2/8/2021   Zahora v. Orgain, LLC                       1:2021cv00705   ilndc   yes                         yes                     Kendall, USDJ
        2/19/2021   Kuciver v. Nestle Healthcare Nutrition,     1:2021cv00936   ilndc   yes                         no                      Kness, USDJ
                    McCauley v. Cooperative Regions of
        2/21/2021   Organic Producer Pools                      7:2021cv01548   nysdc yes                           yes                     Halpern, USDJ
        2/22/2021   Kekish v. Whole Foods Market Group,         7:2021cv01562   nysdc no                            n/a                     Seibel, USDJ

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         2/25/2021
                 Gierwatowski v. Trader Joe's Company        1:2021cv01119   ilndc   no                              n/a                     Westmore, USMJ
         2/27/2021
                 Hoover v. The Price Chopper, Inc.           1:2021cv00228   nyndc   yes                             no                      Sannes, USDJ
         4/11/2021
                 Kelly v. Whole Foods Market Group, Inc.     1:2021cv03124   nysdc   no                              n/a                     Failla, USDJ
         4/22/2021
                 Wach et al v. Prairie Farms Dairy, Inc.     1:2021cv02191   ilndc   yes                             yes                     Bucklo, USDJ
                 Oldrey v. Nestle Waters North America,
        5/2/2021 Inc.                                        7:2021cv03885   nysdc   yes                             yes                     Roman, USDJ
        5/2/2021 Johnston v. Kashi Sales, L.L.C.             3:2021cv00441   ilsdc   yes                             no                      Rosenstengel, USDJ
       5/11/2021 Barnett v. Frito‐Lay North America, Inc.    3:2021cv00470   ilsdc   no                              n/a                     Daly, USMJ
       5/16/2021 Gilker v. Chobani, LLC                      3:2021cv00488   ilsdc   yes                             no                      Dugan, USDJ
       5/19/2021 Wienhoff v. Conagra Brands, Inc.            3:2021cv00501   ilsdc   yes                             yes                     Rosenstengel, USDJ
       6/10/2021 Hiltz v. Inventure Foods, Inc.              1:2021cv03140   ilndc   no                              n/a                     Leinenweber, USDJ
        7/1/2021 Chiappetta v. Kellogg Sales Company         1:2021cv03545   ilndc   yes                             yes                     Aspen, USDJ
       7/11/2021 Shelton v. Kraft Heinz Foods Company        3:2021cv00799   ilsdc   no                              n/a                     Dugan, USDJ
       7/17/2021 Karlinski v. Costco Wholesale Corporation   1:2021cv03813   ilndc   yes                             yes                     Shah, USDJ
       7/24/2021 Rudy v. D F Stauffer Biscuit Co Inc         1:2021cv03938   ilndc   yes                             yes                     Wood, USDJ
       7/29/2021 Cashman v. Ferrara Candy Company            1:2021cv04033   ilndc   no                              n/a                     Shah, USDJ
       8/16/2021 Harris v. Kashi Sales, L.L.C.               3:2021cv50376   ilndc   yes                             no                      Johnston, USDJ
       8/21/2021 Harris v. Kellogg Sales Company             3:2021cv01040   ilsdc   yes                             yes                     McGlynn, USDJ
       8/29/2021 Angeles v. Nestle USA, Inc.                 1:2021cv07255   nysdc   yes                             yes                     Abrams, USDJ
                 Read v. Anheuser‐Busch Inbev
       9/11/2021 Worldwide Inc.                              1:2021cv01261   ilcdc   no                              n/a                     Bennett, USDJ
       9/18/2021 Valcarcel v. Ahold U.S.A., Inc.             1:2021cv07821   nysdc   yes                             no                      Rakoff, USDJ
       9/18/2021 Sanders v. The Hillshire Brands Company     3:2021cv01155   ilsdc   yes                             no                      Yandle, USDJ
       9/23/2021 Hauger v. Dollar General Corporation        1:2021cv01270   ilcdc   yes                             yes                     Shadid, USDJ
       9/27/2021 Strow v. B&G Foods, Inc.                    1:2021cv05104   ilndc   yes                             no                      Seeger, USDJ
       10/5/2021 Khaimova v. Anheuser‐Busch, LLC             1:2021cv05268   ilndc   no                              n/a                     Durkin, USDJ
      10/16/2021 Quinn v. Trader Joe's Company               1:2021cv05513   ilndc   no                              n/a                     Alonso, USDJ
                 Cerretti v. Whole Foods Market Group,
      10/17/2021 Inc.                                        1:2021cv05516   ilndc   yes                             yes                     Shah, USDJ
      10/19/2021 Russett v. Kellogg Sales Company            7:2021cv08572   nysdc   yes                             yes                     Roman, USDJ
      11/14/2021 Spell v. Inventure Foods, Inc.              3:2021cv01426   ilsdc   no                              n/a                     Rosenstengel, USDJ
      11/21/2021 Hoffman v. Kashi Sales, L.L.C.              7:2021cv09642   nysdc   yes                             no                      Briccetti, USDJ
      11/28/2021 DeMaso v. Walmart Inc.                      1:2021cv06334   ilndc   yes                             yes                     Rowland, USDJ
      11/28/2021 Leonard v. Mondelez Global LLC              1:2021cv10102   nysdc   yes                             yes                     Crotty, USDJ
       12/4/2021 Swanberg v. Trader Joe's Company            1:2021cv06496   ilndc   no                              n/a                     Valderrama, USDJ
      12/24/2021 Wilim v. Mondelez Global LLC                1:2021cv06855   ilndc   yes                             no                      Maldonado, USDJ
        1/3/2022 Vazquez v. Snyders‐Lance, Inc.              1:2022cv00026   nyedc   no                              n/a                     Block, USDJ
       1/14/2022 Clemmons v. Upfield US Inc.                 1:2022cv00355   nysdc   yes                             no                      Castel, USDJ
       1/25/2022 Kowal v. Snyder's‐Lance, Inc.               1:2022cv00441   ilndc   no                              n/a                     Chang, USDJ
        2/4/2022 Matthews v. Polar Corp.                     1:2022cv00649   ilndc   yes                             yes                     Seeger, U.S.D.J.
        2/4/2022 Alexander v. BlueTriton Brands, Inc.        1:2022cv00648   ilndc   yes                             no                      Tharp, Jr, USDJ
       2/26/2022 Hamidani v. Bimbo Bakehouse LLC             1:2022cv01026   ilndc   yes                             yes                     Coleman, USDJ
        3/6/2022 Sneed v. Ferrero U.S.A., Inc.               1:2022cv01183   ilndc   yes                             yes                     Shah, USDJ
       3/10/2022 Gardner v. Ferrara Candy Company            1:2022cv01272   ilndc   yes                             yes                     Seeger, USDJ
       3/16/2022 Hite v. Unilever United States, Inc.        7:2022cv02188   nysdc   no                              n/a                     Briccetti, USDJ
       3/22/2022 Raczkowski v. Pinnacle Foods Inc            2:2022cv02061   ilcdc   yes                             yes                     Bruce, USDJ
       3/23/2022 Smith v. General Mills Sales, Inc.          1:2022cv01529   ilndc   yes                             yes                     Shah, USDJ

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         3/28/2022   Ledezma v. Upfield US Inc.               1:2022cv01618   ilndc   yes                             yes                     Feinerman, USDJ
         4/16/2022   Biczo v. Ferrara Candy Company           1:2022cv01967   ilndc   yes                             yes                     Coleman, USDJ
         4/24/2022   Melvan v. General Mills Sales, Inc.      1:2022cv02114   ilndc   yes                             no                      Leinenweber, USDJ
         5/14/2022   Van Orden v. Hikari Sales U.S.A., Inc.   1:2022cv00504   nyndc   yes                             no                      D'Agostino, USDJ
         5/29/2022   Hunt v. General Mills Sales, Inc.        1:2022cv02835   ilndc   no                              n/a                     Durkin, USDJ
         6/19/2022   Nastali v. Dollar General Corporation    3:2022cv50212   ilndc   yes                             no                      Schneider, USDJ
         6/20/2022   Cheah v. Pepperidge Farm, Incorporated   2:2022cv03633   nyedc   yes                             no                      Seybert, USDJ
          7/5/2022   Guzman v. Walmart Inc.                   1:2022cv03465   ilndc   yes                             yes                     Seeger, USDJ
         7/18/2022   Feldman v. Wakefern Food Corp.           7:2022cv06089   nysdc   yes                             no                      Halpern, USDJ
         7/21/2022   Vazquez v. Walmart, Inc.                 1:2022cv06215   nysdc   yes                             no                      Oetken, USDJ
          8/5/2022   Brockington v. Dollar General            1:2022cv06666   nysdc   yes                             no                      Liman, USDJ
          8/7/2022   Baker v. Walmart Inc.                    3:2022cv03148   ilcdc   no                              n/a                     Darrow, USDJ
          8/8/2022   Reyes v. Upfield US Inc.                 7:2022cv06722   nysdc   yes                             no                      Karas, USDJ
         8/11/2022   Borovoy v. Mark Anthony Brands Inc.      1:2022cv04251   ilndc   no                              n/a                     Gottschall, USDJ
         8/14/2022   Warren v. The Coca‐Cola Company          7:2022cv06907   nysdc   yes                             yes                     Seibel, USDJ
         8/20/2022   Cosgrove v. Kashi Sales L.L.C.           1:2022cv00760   miwd    yes                             no                      Jarbou, USDJ
          9/5/2022   Moore v. Kellogg Sales Company           3:2022cv03172   ilcdc   yes                             no                      Lawless, USDJ
         9/18/2022   Barnett v. Schwan's Consumer Brands,     3:2022cv02178   ilsdc   yes                             no                      Yandle, USDJ
         9/27/2022   Forlenza v. Herr Foods Incorporated      1:2022cv05278   ilndc   yes                             no                      Chang, USDJ
         10/9/2022   Carmen v. Zesty Paws LLC                 1:2022cv05529   ilndc   no                              n/a                     Feinerman, USDJ
       10/10/2022    Davis v. The Pur Company (USA) Inc.      6:2022cv06430   nywdc   yes                             yes                     Larimer, USDJ
       10/28/2022    Lesorgen v. Mondelez Global LLC          3:2022cv50375   ilndc   yes                             yes                     Johnston, USDJ
       11/14/2022    Redmond v. Upfield US Inc.               1:2022cv06334   ilndc   yes                             no                      Chang, USDJ
       11/21/2022    Donadio v. Bayer HealthCare LLC          6:2022cv06521   nywdc   yes                             no                      Pedersen, USDJ
       11/26/2022    Thomas v. The Procter & Gamble           1:2022cv00914   nywdc   yes                             no                      Vilardo, USDJ
       12/12/2022    Pautz v. Heineken USA Incorporated       3:2022cv02911   ilsdc   no                              n/a                     McGlynn, USDJ
                     Nootens v. Molson Coors Beverage
      12/13/2022     Company                                  1:2022cv07010   ilndc   yes                             no                      Coleman, USDJ
      12/23/2022     Mao v. Diageo North America, Inc.        1:2022cv10847   nysdc   no                              n/a                     Abrams, USDJ
        1/7/2023     Marquez v. Sazerac Company, Inc.         1:2023cv00097   ilndc   yes                             no                      Rowland, USDJ
       1/16/2023     Letoski et al v. The Coca‐Cola Company   1:2023cv00238   ilndc   yes                             no                      Maldonado, USDJ
       1/29/2023     MCCOY v. NESTLE USA INC                  3:2023cv02218   flndc   no                              n/a                     Rodgers, USDJ
        2/4/2023     White v. Schwans Consumer Brands Inc     2:2023cv00147   wiedc   no                              n/a                     Ludwig, USDJ
        2/8/2023     Del Rosario v. Sazerac Company, Inc.     1:2023cv01060   nysdc   no                              n/a                     Gardephe, USDJ
        3/6/2023     Quilez v. Mondelez Global LLC            1:2023cv01889   nysdc   no                              n/a                     Marrero, USDJ
       3/27/2023     REYNOLDS v. MONDELEZ GLOBAL LLC          5:2023cv00087   flndc   no                              n/a                     Rodgers, USDJ
        4/2/2023     Pizarro v. Sazerac Company, Inc.         7:2023cv02751   nysdc   no                              n/a                     Karas, USDJ




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